                      IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF ALABAMA
                                 NORTHERN DIVISION

IN RE:                                               )
                                                     )
Simplicity Caterers, LLC                             )      Case No. 19-82798-CRJ11
                                                     )
         Debtor.                                     )      Chapter 11

       BANKRUPTCY ADMINISTRATOR’S STATEMENT OF REVIEW OF FINAL
      APPLICATION FOR APPROVAL TO PAY COMPENSATION AND EXPENSES

       COMES NOW the United States Bankruptcy Administrator for the Northern District of
Alabama (“BA”), by and through the undersigned counsel of record, and regarding the
application to pay Compensation and Expenses states as follows:

         1. The BA has reviewed the Application for Approval to Pay Compensation and
            Expenses (Doc. #131).

         2. An analysis of the request for compensation indicates the fee requested is reasonable
            in light of Johnson v. Georgia Highway Express, Inc., 488 F2d 714 (5th Cir. 1974). A
            statement that the monies received by the professional will not be shared with any
            other party is included in the Fee Application.

         3. An analysis of the itemization of expenses shows that the expenses are actual and
            necessary, therefore, the BA does not object to the requested reimbursement of out-
            of-pocket expenses.


      WHEREFORE, the premises considered, the BA recommends approval of the
compensation and reimbursement of expenses as requested.

         Respectfully submitted May 20, 2020.

                                              J. THOMAS CORBETT
                                              United States Bankruptcy Administrator for the
                                              Northern District of Alabama
                                              /s/ Richard M. Blythe
                                              Richard M. Blythe
                                              Assistant U.S. Bankruptcy Administrator
                                              Alabama Bar ID: ASB-3199-B52R




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                                 CERTIFICATE OF SERVICE

        I hereby certify that on May 20, 2020, I have served a copy if the foregoing on the parties
listed below by electronic service through the Court’s CM/ECF system and/or by placing a copy
of the same in the U.S. Mail, postage prepaid.

Tazewell T. Shepard, Esq., Via CM/ECF electronic service taze@ssmattorneys.com


                                             /s/Richard M. Blythe
                                             Richard M. Blythe




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